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        IN THE IOWA DISTRICT COURT IN AND FOR DELAWARE COUNTY

DEBORAH FERGUSON, ANDREW                )      CASE NO. LACV 008457
CLEMEN, JEFF NOLTING,                   )
and all others similarly situated,      )      NOTICE OF CONSENT FILING
                                        )
                    Plaintiffs,         )
                                        )
      vs.                               )
                                        )
EXIDE TECHNOLOGIES,                     )
                                        )
                    Defendant.          )

      Pursuant to 29 U.S.C. § 216, Plaintiffs hereby file the attached Consent form for

the following person:

              7.    Adam Keck

      Dated: July 3, 2018.



                                               /s/ Nate Willems
                                               NATE WILLEMS, AT0009260
                                               RUSH & NICHOLSON, P.L.C.
                                               115 First Avenue SE, Suite 201
                                               P.O. Box 637
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                                               ATTORNEY FOR PLAINTIFFS




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